     Case 4:20-cv-03709 Document 6 Filed on 10/30/20 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Steven F. Hotze, MD, et al.

v.                                          Case Number: 4:20−cv−03709

Chris Hollins




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Andrew S Hanen
PLACE:
Courtroom 9C
United States District Court
515 Rusk Ave
Houston, TX
DATE: 11/2/2020

TIME: 10:30 AM
TYPE OF PROCEEDING: Motion Hearing
Complaint − #1
Motion for Preliminary Injunction − #3
Motion to Intervene − #5

NOTE: ALL COUNSEL OF RECORD RECEIVING THIS NOTICE ARE
ORDERED TO NOTIFY ALL OTHER COUNSEL IN THIS CASE OF THE
CONTENTS OF THIS NOTICE.


Date: October 30, 2020
                                                       David J. Bradley, Clerk
